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VIRGINIA:
IN THE CIRCUIT COURT OF CULPEPER COUNTY

LYNDON W. LONG
PLAINTIFF,

Vv. CASE NUMBER: CL __18000541-00

DELHAIZE AMERICA, INC.

AKA or FIKA FOOD LION, INC,

Serve: Corporation Service Company
100 Shockoe Slip
24 Floor
Richmond, Virginia 23219

AND

FOOD LION, LLC

Serve: Corporation Service Company
100 Shockoe Slip
2nd Floor
Richmond, Virginia 23219
DEFENDANTS.

 

OMPL

COMES NOW the plaintiff, Lyndon W. Long, by counsel, and moves this Honorable
Court to grant judgment against the defendants, jointly and severally, in the amount
herein set forth, and in support of his Complaint, states as follows:
1, Plaintiff is a resident of Bealton, Virginia.
2, Defendant Delhaize America, Inc. (“Delhaize”) is a North Carolina Corporation
licensed to do business in Virginia and has its Registered Agent in Richmond, Virginia

ooh Ne eB s and at all times relevant hereto the owner, operator and/or manager of the Food Lion

PO BOX 440
LOGUST GROVE, VA

22508
640-972-7600

 

 

 

 

 

 
  
  
  
  
 
 
  
  
  
  
  
  
  

grocery store (“store”) located at 505 Meadowbrook Shopping Center, Culpeper Virginia

22704,
3. Delhaize is formerly known as, and also known as Food Lion Inc.
4, Defendant Food Lion, LLC. (Food Lion) is a North Carolina Limited Liability
Company licensed to do business in Virginia and has its Registered Agent in Richmond,
Virginia and at all times relevant hereto the owner, operator and/or manager of the
Food Lion grocery store (store) jocated at 505 Meadowbrook Shopping Center, Culpeper
Virginia 22701,
5. On or about April 6, 2016, Defendants Delhaize and/or Food Lion owned, ¢
. operated, occupied, possessed, managed, maintained, leased and/or otherwise
controlied the store.
6. On or about April 6, 2016, the plaintiff was lawfully on the premises anda
business invitee of the store.
7. On April 6, 2016 the plaintiff walked down an aisle to retrieve an item to
purchase when he slipped on a slippery substance on the floor and fell, injuring himself.
8, Prior to the accident, the store employees knew or should have known of the
spill, yet failed to properly clean the premises, place warnings, or otherwise inform the
plaintiff of the hazardous conditton.
9, Defendants Delhaize and/or Food Lion had a non-delegable duty to the
foreseeable invitees such as the plaintiff in particular to use ordinary and/or reasonable
care to keep the premises ina reasonably safe condition.
10, It was the duty of the defendants Delhaize and/or Food Lion to use ordinary

and/or reasonable care in inspecting, clearing, cleaning and maintaining the aistes of the

 
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store in a reasonably safe condition, including the removal of slippery conditions, so that
persons walking in the store might do so with reasonable safety. |
11, Defendants Delhaize and/or Food Lion were negligent in falling to use ordinary
and/or reasonable care to keep the premises in a reasonably safe condition, including
failing to ensure the aisles were free of slip hazards and/or otherwise warn of any
unsafe conditions.
12. Defendants Delhaize and/or Food Lion knew, or should have had reason to know
or believe, that the condition of the aisle in the store could cause injury to the plaintiff,
13. Defendants Delhaize and/or Food Lion negligently failed to post any warnings
regarding the dangerous condition of the alsle of the store.

. 14. Defendants Delhatze and/or food Lion were negligent in the maintenance and

control of the store aisle,

15. The condition of the store aisle violated the provisions, especially the

 

maintenance provisions of the applicable state, national and international building
codes.

16. Plaintiff was in the class of persons protected by the applicable local, state,
national and international building codes,

17, Defendants Delhaize and/or Food Lion were negligence per se,

18. Asadirect and proximate result of the Defendants’ Delhaize and/or Food Lion’s
negligence, the aforementioned accident occurred and Long has suffered severe and
permanent physical injuries, physical pain and mental anguish, past present and that

which may be reasonably expected to suffer in the future; medical expenses past,

 

 

 

 

 
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permanent disability, and has otherwise been damaged.

further investigation and/or discovery,

warranted,

 

TRIAL BY JURY IS DEMANDED,

 

Brian A. Choissé

VSB # 72826

Joanna C, Abe, Esq.

VSB # 83121

Laura J. Johnston, Esq.

VSB # 40866

GETTY & ASSOCIATES, P.C.
P.O, Box 1040

4258 Germanna Highway, Suite E
Locust Grove, VA 22508
§40-972-7600

540-972-0880 (facsimile)
Caunsel for Plaintiff

 

 

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present and that which he may be reasonably expected to suffer in the future:

19. Plaintiffreserves the right to amend this Complaint including adding any

additional claims during discovery based on additional information obtained during

WHEREFORE, THE PLAITNIFF, Lyndon Long, respectfully prays for judgment against the
defendants Delhaize and/or Food Lion jointly and severally, in the sum of $450,000.00

plus prejudgment interest from April 6, 2016, plus costs and such other relied as may be

LYNDON LONG
By Counsel .

 

 

 
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phos COMMONWEALTH OF VIRGINIA

 

CULPEPER CIRCUIT COURT
Civil Division
135 W CAMERON ST
CULPEPER VA 22701

Summons
To: DELHAIZE AMERICA INC, Case No, 047C1.18000541-00
SERVE: CORPORATION SERVICE CO.
100 SHOCKOE SLIP
2ND FLOOR
RICHMOND VA 23219

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the clerk’s office
of this court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment, or decree against such party
either by default or after hearing evidence.’

Appearance in person is not required by this summons. ~
Done in the name of the Commonwealth of Virginia on, Thursday, April 05, 2018

Clerk of Court: JANICE J, CORBIN

 

( EPUTY CLERK }
Instructions:
Hearing Official:
Att ; ABE, JOANNA C
omeysname: = 4958 GERMANNA HWY STE E
POBOX 10640

LOCUST GROVE VA 22508

 

 

 
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qo COMMONWEALTH OF VIRGINIA
P &,

   

         

    

  

CULPEPER CIRCUIT COURT
Civil Division
135 W CAMERON ST
CULPEPER VA 22701

Summons
To: FOOD LION, Lic; Case No, 047CL18000541-00
SERVE: CORPORATION SERVICE CO
100 SHOCKOE SLIP
2ND FLOOR

RICHMOND VA 23219

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Clerk of Court: JANICE J. CORBIN

  

by
Instructions:
Hearing Official:
At _ ABE, JOANNA C
omneysname: —_- 4958 GERMANNA HWY STE #
PO BOX 1040

LOCUST GROVE VA 22508

 

 
